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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

                                            §
THE DAILY WIRE, LLC, et al.,                §
                                            §
        Plaintiffs,                         §
                                            §
v.                                          §    Case No. 6:23-cv-609-JDK
                                            §
UNITED STATES DEPARTMENT OF                 §
STATE, et al.,                              §
                                            §
        Defendants.                         §

              ORDER STRIKING DEFENDANTS’ COMBINED FILING
         On March 15, 2024, Defendants filed a Combined Opposition to Plaintiff’s

 Motion for Preliminary Injunction and Motion to Dismiss for Lack of Jurisdiction.

 Docket No. 28. Local Rule CV-7(a) requires that “[e]ach pleading, motion, or response

 to a motion must be filed as a separate document, except for motions for alternative

 relief (e.g., a motion to dismiss or, alternatively, to transfer).” Defendants’ filing

 seeks two separate—not alternative—forms of relief.         Thus, the Court strikes

 Defendants’ combined filing under Local Rule CV-7(a). Defendants may re-file their

 Response in Opposition to Plaintiff’s Motion for Preliminary Injunction by Friday,

 March 22, 2024. Likewise, Defendants may separately file their Motion to Dismiss

 by Thursday, March 28, 2024, the deadline to file an answer to the complaint.

         Defendants’ Motion for Leave to File Excess Pages, Docket No. 27, is denied as

 moot.




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     So ORDERED and SIGNED this 18th day of March, 2024.



                                        ___________________________________
                                        JEREMY D. KERNODLE
                                        UNITED STATES DISTRICT JUDGE




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